         Case 1:21-cr-00028-APM Document 29-1 Filed 02/22/21 Page 1 of 2



To those who will listen:

Jessica Watkins has been a friend to me for many years; at one point she was just another member of
my family, and I considered her a sister. The Jess that I know pre-dates the events of January 6th and you
cannot imagine my disappointment and confusion as I have followed her story in the news.
         That said, I believe that I still know Jess well enough to assert the following: Jess loves her
country, and is a proud American, and for her to have committed to such an extreme event, she must
have truly, truly believed she was doing what was best for all Americans. I am not saying that I condone
or agree with any of her actions, or her statements private or public, but I ask you to consider that she
had intent to do good that day, and that her intent to do good was manipulated by forces more deeply
involved in insurrection, and that she never intended to become a terrorist.
         Since I have known Jess, she has always struggled to find her place in a world that has let her
down time and again. When I met her, she was already an ex-soldier, and after some time I learned why
she couldn’t be very public with her military service. Not because she wasn’t proud to have been in the
Army, but the Army wasn’t proud to have her. Yet that did not stop Jess from choosing to serve her
country any way she could; later on in life Jess became a firefighter for Stoney Point fire department in
North Carolina and saved many lives. It was a thankless job that she did not do for personal gain. She
rendered aid to innumerable civilians in need while she struggled to keep her own lights on at home.
She was a well respected and, to my knowledge, decorated member of her department.
         Even after her separation from the department, Jess was avid in her attempts to give back to the
community. I remember taking photographs when Lakeview Apartments caught fire; Jess had noticed
the smoke and we went over because she was insistent on lending her skills to the active firefighters at
the scene. She filled air bottles and gave first aid to any who needed it, even though she was only there
as a volunteer. She is a kind person with a servant’s heart. When she moved to Ohio, she finally started
getting a foothold in life, and even at this critical stage where she needed every penny she could save,
Jess thought of others and provided a platform for my wife and I to start our own life. And while we
later had a falling out, I know that her intentions were always noble and that my friend had not changed
at her core.
         In the months that followed, through sparse communications, I learned that Jess had been
attending some of the protests around the country, again to render aid to civilians in need. I believe that
she did this because she still has a servant’s heart, and because she loves America and Americans. I have
to believe that surreptitious and untrustworthy individuals played on the stresses of Jess’s life and
manipulated her to take advantage of her many skills. I have to believe that Jess would have never
participated in the attack on the 6th if she had not been so purposefully misguided by those who stood
to wield her experience as a weapon against this country. For lack of a better term, I believe my friend
was brainwashed by those deeply entrenched in conspiratorial beliefs, and that (as has been a matter of
record with her) Jess’s feelings outpaced her brain.

         My friend is an idiot, and I have never been more angry or upset with her in my life, but I do not
believe that she wanted to become a terrorist that day. I don’t believe that she is wholly unaccountable
for her actions – nor do I believe she should or would want to be – but I urge the court from my humble
place as an ordinary citizen to show the mercy that I know Americans are capable of.
         Case 1:21-cr-00028-APM Document 29-1 Filed 02/22/21 Page 2 of 2



I know that given the opportunity, Jess can be trusted to return and stand trial. I would argue that it is of
critical importance that she be given the opportunity to return to reality and seek deprogramming
beforehand. I believe that Jess can learn from her mistakes and will willingly take any punishment that
she has earned, and that she is not a danger to her community. Please consider granting her bail. Thank
you for your time.

                                                                   Zach H.
